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                      EXHIBIT HH
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            Attorneys for Sheriff, Police Chief, and
      8     Chief Probation Intervenor-Defendants
      9
  10                                IN THE UNITED STATES DISTRICT COURTS
  11                             FOR THE EASTERNDISTRICT OF CALIFORNIA
  12                            AND THE NORTHERN DISTRICT OF CALIFORNIA
  13               UNITED STATES DISTRICT .COURT COMPOSED OF THREE JUDGES
  14                     PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
 15
           RALPH        COLEMAN, et al.,                      Case No: CIV S-90-0520 LKK JFM P
 16
                           Plaintiffs,                        THREE-JUDGE COURT
 17
                   VS.
 18
           ARNOLD         SCHWARZENEGGER, et
 19        alo,
 20                         Defendants.
 21
                                                              [F.R.C.P. 24; 18 U.S.C. § 3626(a)(3)(F)]
 22
                                                              CaseNo.: C01-1351 TEH
 23        MARCIANO PLATA,                et al.,
                                                              THREE-JUDGE COURT
 24                         Plaintiffs,
                                                              INTERVENOR-DEFENDANT SAN
25                VS.                                         JOAQUIN COUNTY SHERIFF'S
                                                              RESPONSES TO PLAINTIFFS' FIRST
26         ARNOLD         SCHWARZENEGGER, et                  SET OF INTERROGATORIES
           al.,
27
                            Defendants.
28
                                                             -1-
                  1NTEP•VENOR-DEFENDANT SAN JOAQUIN COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF
                                                    INTERROGATORIES
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            PROPOUNDING PARTIES"                     Plaintiffs, MARCIANO PLATA, et al.
       2    RESPONDING PARTY:                        Intervenor-Defendant• SAN JOAQUIN COUNTY
       3                                             SHERIFF
       4    SET NUMBER:                              One(l)
       5             TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
       6             Pursuant to Federal Rules of Civil Procedure Rule 3 3, Intervenor-Defendant San
       7    J0aquin County Sheriff separately and fully responds to Plaintiffs' First Set of
       8    Interrogatories as follows:
       9                          Preliminary Statement and General Obiections
  10                  1.    Intervenor-Defendant has not completed investigation of the facts relating
  11       to this case, has not completed discovery in this action and has not Completedpreparation

  12       .for trial, Therefore, these responses, while based on diligent factual exploration, reflect
  13       only Intervenor-Defendant's current state of knowledge, understanding, and belief with
  14       regard to the matters aboutwhich inquiry has been made. Intervenor-Defendant reserves
  15       the right to supplement these responses with subsequently obtained or discovered
  16       information. With regard to each interrogatory, Intervenor-Defendant reserves the right,
  17       notwithstanding these .answers and responses, to employ at trial or. in any pretrial
  18       proceeding herein information subsequently obtained or discovered, information the
 19        materiality of which is not presently ascertained, or information Intervenor-Defendant
 20        does not regard as-coming within the scope of the interrogatories as Intervenor-Defendan
 21        understands them.
 22                 2.      These responses are made solely for the purpose of this action. Each
 23        answer    is Subject to all objections as to competence,.relevance, materiality, propriety,
 24        admissibility, privacy, privilege, and any and all other objections that would require
 25        exclusion of any statement contained herein if any such interrogatories were asked of,
                                                                                                   or
 26        any statement contained herein if any such interrogatories were asked of, or any
 27        statement contained herein were made by, a witness present and-testifying in court, all of
28
                                                              -2,
                    INTERVENOR-DEFENDANT SAN JOAQUIN COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF
                                                       INTERROGATORIES
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       which objections and grounds, are reserved and may be interposed at th e time of trial.
                  3.  Except for explicit facts .admitted herein, no incidental or implied
       admissions, are intended hereby. Intervenor-Defendant's answers or objections to any
       interrogatory are not an admission of any fact set forth or assumed by that interrogatory.
       In addition• each of Intervenor-Defendant's answers to an interrogatory or part of any
       interrogatory is not a waiver of part or all of any objection he might make tothat
      interrogatory, or an admission that such answer or objection constitutes admissible
      evidence. Intervenor-Defendant asserts these objections without waiving or intending to.
      waive any objections as to competency, relevancy, materiality or privilege.
 !0            4.     To the extent Intervenor-Defendant responds to these interrogatories, .the
 11   responses will not include information protected by the right of privacy. All objections
 12   on the grounds of constitutional and common law privacy rights are expressly preselwed.

 13           5.       Interven0r-Defendant objects to each and .every Interrogatory to the extent
 14   that Plaintiffs are requesting information that is neither relevant to the subject matter of
 15   this action nor reasonably calculated to lead to the discovery of admissible evidence.
 16           6.      Intervenor-Defendant objects to the Interrogatories to the extent that they
 17   are vague and ambiguous and do not include adequate definition, specificity, or limiting

 18   factors.
 19              7.         Intervenor-Defendant objects to the Defmitions provided by Plaintiffs and
20    the term "PERSON." The definition is vague, ambiguous, and overbroad as Used in these
21    Interrogatories.
22            Subject to and without waiving the foregoing objections, and incorporating them
      by reference into each of the responses provided below, Intervenor-Defendant hereby
23
24
      responds follows:as

25    INTERROGATORY NO. 1:
26               From January      1, 1995 until the present, have any limit(s) been in place, as the
27    result of any lawsuit, on the number of people that can be housed in any jail operated
28
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                 INTERVENOR-DEFENDANT SAN JOAQUIN COUNTY SHERIFF'S RESPONSES .TO PLAINTIFFS' FIRST SET OF
                                                  INTERROGATORIES
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           and/or maintained by.YOU? If so:
      2                   (a)         State the name, date and case number of every case which resulted in
      3    any such limit(s).
      4    RESPONSE TO INTERROGATORY NO. 1:
      5               In addition to the General Objections stated above, Intervenor-Defendant objects
      6    to this interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
      7    extent that it seeks information not relevant to this litigation nor reasonably calculated to

      8    lead to the discovery of admissible evidence.
      9            Without waiving and subject to the objections, Intervenor-Defendant responds as
 10        follows:
 11        (a)       In the Matters of Johnnie S. Smith, et al., Case No. 43450 and Daniel S. Gonzales,
 12        et al., Case    No. 44255, Interim Order filed May
                                                            8, 1989, Superior Court, County of San
 13       Joaquin, Agreement and Consent Decree filed December 17, 1990 and amendments
 14       thereto, which are produced in response to Plaintiffs' request for production.
 15       INTERROGATORY NO. 2:
 16                  In any instance, from January 1, 1995 until the present, in which any limit(s) have
 17       been in place on the number of people that can be housed in any jail operated and/or
 18       maintained by YOU, what mechanisms were used to comply with those limits?
 19                          (a)     Identify all DOCUMENTS which relate to YOUR answer.
20                           (b)     Identifyall PERSONS whom YOU believe or suspect have
21        information to support YOUR answer.
22        RESPONSE TO INTERROGATORY NO. 2:
23                   In addition to the General Objections stated above, Intervenor-Defendant objects
24        to this interrogatory on.the grounds that it is vague, ambiguous and overbroad; to the
25        extent that it seeks information not relevant to this litigation nor reasonably calculated to
26        lead to the discovery of admissible evidence.
27                Without waiving and Subject to the objections, Intervenor-Defendant responds
                                                                                                    as.
28
                                                               -4-
                     INTERVENOR-DEFENDANT SAN JOAQU1N COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF
                                                        INTERROGATORIES
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          follows:
      2              In accordance with the Agreement and Consent Decree, In the Matters of Johnnie
      3   S. Smith, et al., Case No: 43450 and Daniel S. GonzaIes, et al,, Case No. 44255, inmates
  4       have been released early serving as little as 25% 0ftheir sentences.              Alternatives to
      5   incarceration have been utilized, including the Alternative Work Program, Electronic
      6   Monitoring Program (Home Detention), Alternative Drug and Alcohol Program (ADAP),
      7   as well as other methods such as Cite and
                                                    Releases, Felony Own Recognizance Releases,
      8   Book and Releases, as determined by Pretrial Services and described in the Agreement
      9   and Consent Decree,. as amended.
 10            (a)       In the Matters ofJohnnie S. Smith, et al., Case No. 43450 and Daniel S.
 11                      Gonzales, et al., Case No. 44255, Interim Order and Agreement and Consent
 12                      Decree, amendments thereto, San Joaquin County Sheriff's Custody Division
 13                      Policies and Procedures sections 1.4.2, 3.2.4, and 8.7.3.
 14            (b)       Lt. Monica Serros and Sgt. Steve VanMeter.
 15       INTERROGATORY NO. 3:
 16                  From January     1, 1995 until present, how many people have had their releases from
 17       any jail operated and/or maintained by YOU accelerated as a result of any limit(s) placed
 18       on   the number of people that can be housed in that jail?
 19                          (a)     Identify all DOCUMENTS which relate to YOUR answer.
 20                          (b)     Identify all PERSONS whom YOU believe or suspect have
 21       information to support YOUR           answer.

 22       RESPONSE TO INTERROGATORY NO. 3:
 23                  In addition to the General Objections stated above, Intervenor-Defendant objects
 24       to this interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
 25       extent that it seeks information not relevant to this litigation nor reasonably calculated to

 26       lead to the discovery of admissible evidence.
 27               Without waiving and subject to the objections, Intervenor-Defendant responds that
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                                                                -5-
                     INTERVENOR-DEFENDANT SAN JOAQUIN COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF
                                                          1NTERROGALTORIES
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            from January 1, 1995 unti present, approximately 49,271 inmates have had their releases
     2      accelerated as a result of the Consent Decree.
       3         (a) Statistical data maintained by the Population Management Unit of the Custody
      4               Division.
      5          (b) Lt. Monica Serros; Tisha Modesto; Loft Moreno.
      6     INTERROGATORY NO. 4:
      7               What ALTERNATIVE PLACEMENT PROGRAMS have been in existence, from
      8    January 1, 1995 until present, in any county in which YOU operate and/or maintain a
      9    jail?
 10                      (a) For each such program, describe the mi.ssion and/or purpose of the
 11        placement program.
 12                      (b) For each such program, identify what criteria are used to decide wh(
 13        may enter the program.
 14                          (c)    Identify all DOCUMENTS which relate to YOUR answer.
 15                          (d)    Identify all PERSONS whom YOU believe or suspect have
 1_6       information to support YOUR answer.
 17        RESPONSE TO INTERROGATORY NO, 4:
 18                   In addition to the General Objections stated above, Intervenor-Defendant objects
 19        to   this interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
20         extent   that it seeks information not relevant to this litigation nor reasonably calculated to
21         lead to the discovery of admissible evidence.
22                  Without waiving and subject to the objections, Intervenor-Defendant responds as
23         follows:
24                  The San Joaquin County Sherift•s Office has utilized several alternative placement
25         programs since January 1, 1995, including the Alternative Work Program, Electronic
26         Monitoring Program (Home Detention), Alternative Drug and the Alcohol Program
27         (ADAP).
28
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                    1NTERVENOR-DEFENDANT SAN JOAQU1N COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF
                                                     INTERROGATORIES
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                  (a) Pursuant to Federal Rules of Civil Procedure 33(d), see San Joaquin County
         .2           Sheriff's Custody Division Policies and Procedures section 3.2.4 produced in
          3           response to Plaintiffs' request for production.
         4       (b) Individuals must be sentenced by a court, that does not oppose participation in the
         5            program for which application is requested. Clients can still be considered with
         6            open infractions. They are reviewed on a case-by-ease basis and monitored by a
         7            case manager to make sure the cases are adjudicated.

         8       (c) San Joaquin County Sheriff' s Custody Division Policies.and Procedures section
         9           8.7.3.
    10           (d) Sgt. Steve VanMeter
    11        DATED: April 11, 2008                          Respectfully submitted,
    12

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    14
                                                             JONES & MAYER


                                                            By:
                                                                    Ivy
                                                                          M•
    15
                                                                    Attornehd for Sheriff, Probation, Police
                                                                    Chief, and Corrections Intervenor-
    16
                                                                    Defendants

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                    INfERVENOR-DgI•ENDANT SAN JOAQU1NCOUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST
                                                                                                     SET OF
                                                      INTERROGATORIES
